Case 1:24-cv-24453-KMW Document 18-3 Entered on FLSD Docket 01/13/2025 Page 1 of 4

Exhibit C
Case 1:24-cv-24453-KMW Document 18-3 Entered on FLSD Docket 01/13/2025 Page 2 of 4

IS PAYMENT ENROLLMENT RESOURCES ABOUTUS CONTACT _

ST COT CONN COU arial ca ad

(oltre feter-| esd fein Cece MEM alel siete McTiriee) Mduteltet lite Med Mel ce) sI-las Moly RM UCLA Saco NLM elke) 1a
fepere oy meer are MUM cM ee CIM cli eice MO hie lee -Tay rls) ici eM CLUE Lee

Lite Mec R crite Mdter erly ml Eee y co Peer leet ace slay gm Ecce y

Beall

=

A ae ee

250,000+ 30 YEARS 2/3 99 BILLION

Successful property of industry experience Property owners receive Total market value of
tax appeals a refund on their tax bill property we represent in
Miami-Dade & Broward
Counties
Case 1:24-cv-24453-KMW Document 18-3 Entered on FLSD Docket 01/13/2025 Page 3 of 4

IN MIAMI-DADE ALONE, HUNDREDS OF THOUSANDS OF PROPERTIES ARE INCORRECTLY ASSESSED AND THEREFORE, OVERTAXED |

THIS IS WHERE WE STEP IN.

Wherever your property is located we have experience with appealing similar properties in your area.
With 5,000 - 8,000 petitions a year, we cover all of Miami-Dade and Broward County.

$108.470,585

VACANT LAND

$244. 877.743

$180356.455

SINGLE-FAMILY
HOMES & CONDOS

*  $1.619.024 293

INDUSTRIAL

$66) 394,587

OFFICE BUILDINGS
$442160077

MARKET
VALUE
REPRESENTATION

VACANT LAND

453 properties

SINGLE-FAMILY
HOMES & CONDOS

2870 properties

MULTI-FAMILY

876 properties

[ooo] RETAIL

[) r 623 properties

OFFICE BUILDINGS

339 properties

INDUSTRIAL
519 properties
HOTELS
th 29 properties
ne be TE...

Case 1:24-cv-24453-KMW Document 18-3 Entered on FLSD Docket 01/13/2025 Page 4 of 4

MU AMON OME UM ADIOL ise UY aA Lt
Bata OMEN LDA

eS stelltUeM EL est ( ipa eles) sla wae) eA Tmtitel (eR st-¥e-ls)(-M CoMe (ss a tacM at-4 3
Reel ielceuay sterile) me concetei (em Wem arevert lL Nae) MUM @xele Tn 5 gre Coy es]

Perel eco) MoM aL lees la Tel lols MMe As Cite cou Milroy
WALCO MEate Cette Ae lef eaalelecld MUM el-Mi alicia) mtiTd
Felco) say Ae) pica Lat eR @ell any cM CMMI @ eal nell lat eco) of1n5 gem Uns
Reyes llicciccule MEM LiClam cele Uacere) MMe diate erm ey elu) slate Med lee <a h
eC Ae Mega em Mil shea ee ele iim eM ERS a) main acl

Eiicel (cscs Va com fs ls\m (olee-LaM Lint sleconZsCe M710] Cola Rey Micelle olf) e118 02

level late lcto MiMi bysvarlite Lerit-e Wah @tele:] Ref e)(-1-9 lel Ma Ebest \ ite)
IEW ES Mera Cre Beslan te Rant UMM colave Becta etcctsel ce Me) Mercato Melee) ere1 iN
Cee MUN) A Co) eL-TiN a Cae] o) STE] MEM CeLeMo LNA Lallite ReltLmecolu ty essay ae (elt
Elite hy wie \ a etst-iks olive placticessta Fa Colm tate M srry ae OR Lern wy IE1a
Hateectells\(-Mccteelce Ret falta (acciilttel as

COM g ert h a CaN UCase MME Cutie Mitctele) ele W elcerscrse sire y CMR Ue el Cle (eects Leet eR UCL MO Cs ts

Co aera (en ale nictels telus ont sleciale mn eltaN sice) eras eM aM elt Pele eelive Asien pels Oca (teeta) 9) OH CMe CH 1A)

fete Vrert-to Ml stTcxelatliracts el elcel-ain (ole-relo i Me) Mell melt Pal Peliaicmale) Mola el aeslcoe Mol -sel-Tu ett Ma ele Mona EL ella fell ave LTC Rte
eat oom te RTM MU Col lelMert elie ce-Ute Keli Cciits Mcciiti Mckee OMT Re elie eeM ni Ue Medic.) s)elcertaa Ma WET a lls
er M eet AV ENs(oMite) areola elt s\ OMT -Ke (eMule) ee |-14 ste MMP EM UU -em arcers|Melceleltan Rely tiem cere tice (etMel A eR rcemers

Oy etMel sc) sl eA Reh eck CREM eI IeL eee

wv a 5 TS ie

Met al La

me BELL
TT

ri
ET aM lace EE Meu) Aifened seach Nie) eM eter cer] SEE WY Coy e:) (24 CONE ROE Cr-)

Liceette (ei) and eNO, oF1el tere) yeccrese ts) fe) [fee M cbr pererel cei L Cols Letste)cellat | Cols
ates excl Wad coal set orelag le)iiteetg

